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TAM| BlCKFORD, NEXT FRIEND OF
DAV|D MlCHAEL SPOON,

PLAlNTlFF,
v.

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g
LAUDERDALE COUNTY, TENNESSEE)
LAUDERDALE COUNTY SCHOOL ) NO. 03 2953 BP
SYSTEM, JlMMY DOUGLAS, TODD )
WHITE, PH|LL|P MORR|S, )
LAUDERDALE COUNTY SHER|FF’S )
DEPARTMENT, LAUDERDALE )
COUNTY JUVEN|LE COURT, ClT¥ )
OF RlPLEY POL|CE DEPARTMENT )

)

)

)

AND JOHN DOES 1-10,

DEFENDANT. `

 

STlPULATlON OF DlSM|SSAL

 

Come now the Piaintiffs and Defendants and would set forth that the above
reference cause should be dismissed with prejudice as to Jimmy Doug|as and the
Lauderda|e County Board of Education.

|T |S THEREFORE ORDERED, ADJUDGED AND DECREED that this cause is
dismissed with prejudice as to Jimmy Dougias and the i_auderda|e County Board of
Education.

|T iS FURTHER ORDERED that costs of this cause are taxed against the

P|aintiffs for which execution may issue if necessary.

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Page 2 of 3

Case 2:03-cv-02953-.]DB-tmp Document 38 Filed 05/18/05 Page 3 of 5 PagelD 52

CERT|F|CATE OF SERV|CE
This is to certify that l served a copy of this pleading or papers in person or by mail

upon each attorney or firm of attorneys appearing of record for each adverse party on or
before the filing date thereof

DATE'. This the ff F\€ay of ,2005.

WALDROP 81 HALL, P.A.

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By:

Page 3 of 3

 

ESTERN 1

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
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Honorable .1. Breen
US DISTRICT COURT

